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 1   DAVID A. TORRES AND ASSOCIATES
     David A. Torres, SBN135059
 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (661)326-0857
     Fax: (661)326-0936
 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     MIGUEL MALAGON-ALEJANDREZ
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                    ) Case No.: 1:12-CR-00310-DAD-BAM-7
10   UNITED STATES OF AMERICA,                      )
                                                    ) STIPULATION AND ORDER TO
11                  Plaintiff,                      ) CONTINUE SENTENCING HEARING
                                                    )
12          vs.                                     )
                                                    )
13   MIGUEL MALAGON-ALEJANDREZ,                     )
                                                    )
14                  Defendant                       )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE DALE A.
16   DROZD AND LAUREL MONTOYA, ASSISTANT UNITED STATES ATTORNEY:

17          COMES NOW Defendant, MIGUEL MALAGON-ALEJANDREZ, by and through his

18   attorney of record, David A. Torres, hereby requesting that the sentencing hearing currently set

19   for Wednesday, January 4, 2017 be continued to Tuesday, January 17, 2017.

20           I have reached out to Mr. Malalgon’s family so that they can provide me with

21   background information as to Mr. Malaogn’s history and family life so that I can prepare a

22   sentencing memorandum. I am requesting a brief continuance in order to obtain said

23   information. I have spoken to AUSA, Laurel Montoya, and she has no objection to continuing

24   the sentencing hearing.

25          //




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 1           IT IS SO STIPULATED.

 2                                                               Respectfully Submitted,

 3   DATED: 12/19/16                                             /s/ David A Torres          ___
                                                                 DAVID A. TORRES
 4                                                               Attorney for Defendant
                                                                 MIGUEL MALAGON
 5

 6

 7   DATED: 12/19/16                                             /s/Laurel Montoya __________
                                                                 LAUREL MONTOYA
 8                                                               Assistant U.S. Attorney

 9

10                                               ORDER

11          The Court has reviewed and considered the stipulation of the parties to continue the

12   sentencing in this case. Good cause appearing, the sentencing hearing as to Miguel Malagon-

13   Alejandrez currently set for January 4, 2017, is continued to January 17, 2017, at 10:00am.

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     IT IS SO ORDERED.
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        Dated:     December 19, 2016
16                                                       UNITED STATES DISTRICT JUDGE
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